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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
   v.                              )            2:15cr17-MHT
                                   )                (WO)
MICHAEL ALBERT FOCIA               )


                        OPINION AND ORDER

    This    case   is   now   before     the   court    on    defendant

Michael Albert Focia’s motion for reconsideration of

the decision to detain him that was entered by a United

States Magistrate Judge in the United States District

Court for the Southern District of Mississippi.                         The

court construes the motion as one for revocation or

amendment of a detention order pursuant to 18 U.S.C.

§ 3145(b).       The court has reviewed the transcript of

the detention hearing as well as the record in this

court.     Based on the court’s independent and de novo

review of this information, the court finds that the

record    does   not    establish      by   clear    and     convincing

evidence that Focia is not likely to flee if released
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under     his       own     recognizance            or     with      conditions.

Accordingly, the court will deny Focia’s motion.



                                 I. BACKGROUND

    Focia is detained on a petition for revocation of

his supervised release.                  In 2015, he was convicted for

dealing firearms without a license in violation of 18

U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D), and for two

counts    of    transferring           a    firearm      to    an   out-of-state

resident       in   violation       of      18    U.S.C.      §§ 922(a)(5)       and

924(a)(1)(D).              He      was      sentenced         to    51     months’

incarceration and three years’ supervised release.                                In

October    2018,      he     was       released     from      prison      and    was

required to report to the probation office within three

days.     He did not do so.                    As a result, a revocation

petition was filed and a warrant issued.                                 After his

arrest     a    month      and     a       half    after      he    should      have

reported,       his       probation         was    revoked,         and    he    was

sentenced to another six months in prison followed by

another two-year term of supervised release.                               He was



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released      in     May    2019    and      started    his    new       term    of

supervised release.

       In    April    2020,       the    probation     officer       filed      the

currently pending petition for revocation of supervised

release because Focia had been refusing to answer the

questions on his monthly supervision report since the

commencement of his second supervised-release term and

refused      to    provide        the    probation      officer      requested

information about his employment.                      The court issued a

summons and Focia appeared at a status conference on

May 4, where the court announced its intention to set

the    petition      for     an    evidentiary        hearing       and    issued

another      summons.         A    few    days   later,       the    probation

officer filed a motion to amend the revocation petition

to     add    a    new     violation         based     on    Focia’s       having

reportedly        moved     out    of    his   home     on    May    5    without

providing notice to the probation officer about where

he was moving.             The court granted the motion to amend

the petition and approved the issuance of a warrant for

Focia’s arrest.



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    Focia was finally arrested on the warrant by state

authorities in August 2020 in Mississippi.                      The United

States    Magistrate      Judge       in      that    district    held    a

detention hearing and ordered him detained due to risk

of flight, based on evidence she heard that he had

failed to report to probation as required.                      It is this

decision that Focia now challenges.



                     I. STANDARD OF REVIEW

    18 U.S.C. § 3145(b) provides that, “If a person is

ordered detained by a magistrate judge, or by a person

other    than   a    judge      of        a   court    having     original

jurisdiction over the offense and other than a Federal

appellate court, the person may file, with the court

having original jurisdiction over the offense, a motion

for revocation or amendment of the order.”                      A district

court    considering     such     a       motion      “must   conduct    an

independent review to determine whether the magistrate

properly found that pretrial detention is necessary.”

United States v. King, 849 F.2d 485, 490 (11th Cir.

1988).

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                             II.    DISCUSSION

       Focia was arrested for a violation of supervised

release.             Detention       proceedings        for    defendants

arrested for supervised-release violations are governed

by   Federal     Rule    of    Criminal       Procedure    32.1   and      18

U.S.C. § 3143(a)(1).           See Fed. R. Crim. P. 5(a)(2)(B)

(“If a defendant is arrested for violating probation or

supervised release, Rule 32.1 applies.”); Fed. R. Crim.

P.   32.1(a)(6)      (“The    magistrate       judge    may    release     or

detain the person under 18 U.S.C. § 3143(a)(1) pending

further      proceedings.”).             18    U.S.C.      §   3143(a)(1)

requires detention “unless the judicial officer finds

by clear and convincing evidence that the person is not

likely to flee or pose a danger to the safety of any

other person or the community if released under section

3142(b) or (c),” that is, on personal recognizance or

with conditions.         Rule 32.1(a)(6), in turn, makes clear

that    “[t]he      burden     of    establishing         by   clear      and

convincing evidence that the person will not flee or



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pose a danger to any other person or to the community

rests with the person.” Fed. R. Crim. P. 32.1(a)(6).

       Having       reviewed     the    transcript       of   the        hearing

before the magistrate judge in Mississippi, the court

agrees       with    its    finding    that     detention     is    necessary

based on likelihood of flight.                   At the hearing before

the       magistrate       judge,      Focia    did    not    present        any

evidence that he was unlikely to flee, and the burden

was on him to do so.                Nor did he do so in the motion

for       review    of    the   detention      order   currently         pending

before the court.

       Furthermore, the record makes clear that there is

significant risk of flight even if Focia were released

with        conditions.             Focia       absconded         from      this

jurisdiction after a status conference with this court

on    a    revocation       petition,       knowing    that   a    revocation

hearing was about to be set by the court.                         He was gone

for months.              In his appearance before the magistrate

judge in Mississippi, and in multiple appearances and

filings in this court, Focia has repeatedly expressed

that he does not recognize the authority of the court.

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Given     these    concerns,      the       court     finds      that        even   if

released on conditions, such as home monitoring, Focia

is likely to flee.           The record simply does not support

a finding by clear and convincing evidence that Focia

is unlikely to flee.

       Before     concluding,      the       court        pauses    to       address

various arguments Focia makes in his motion.                                  In the

motion, Focia challenges the detention order based on a

panoply      of    reasons     that         have     nothing       to    do     with

likelihood        of   flight.      He       argues       that     the   judgment

against him is void for lack of jurisdiction; that he

has already served the statutory maximum sentence for

his     original       offenses    of        conviction;         and     that       he

allegedly was not informed of the charges against him

by    the    magistrate       judge         in     this    district.            (The

transcript shows that the magistrate judge who handled

the    detention       hearing    in     Mississippi          did       so    inform

him.)       He also points to the danger of being housed

with “foreigners grouped together” during the ongoing

COVID-19 crisis; the inability of the jail to provide

Kosher      meals;     alleged    judicial          bias    on     the       part   of

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judges;       the    lack    of      an      injured       party;     and     the

unconstitutionality of supervised release pursuant to

the Fugitive Slave Act.              See Motion for Reconsideration

of    Detention     (doc.    no.     315)     at    5-6.        As   Focia    has

provided no caselaw in support of these arguments, and

as they appear facially frivolous, the court will not

spend its limited time analyzing them.                      The court does,

however, specifically reject Focia’s claim of judicial

bias.      This court is not biased against him, and the

court     has   been    presented         with     no    evidence     that    the

magistrate       judges     involved         in    this    case      have    been

biased against him either.

                                     * * *

       Accordingly,       for     the       foregoing      reasons,     it     is

ORDERED that defendant Michael Albert Focia’s motion

for    reconsideration          of   detention          (doc.   no.    315)    is

denied.

       DONE, this the 19th day of October, 2020.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE




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